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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    ) INDICTMENT NO: 1:21-cr-00048
                                                      )
SAMMIE LEE SIAS ,                                     )
                                                      )
       Defendant.                                     )
                                                      )

 DEFENDANT SIAS’S MOTION TO EXTEND THE TIME TO AMEND HIS MOTION FOR

                                              NEW TRIAL


       COMES NOW, Jesse W. Owen, Counsel for Defendant Sammie Lee Sias, and moves this

Court to extend the time to amend his Motion for a New Trial from October 14, 2022 until a time no

earlier than thirty days after the receipt of the complete file from Mr. Sias’s prior counsel and the

transcripts of the pretrial conference, jury trial, and ex-parte hearing, showing the Court as follows:

       1.      On July 29, 2022, Mr. Sias was convicted of Destruction, Alteration, or Falsification of

Records in a Federal Investigation and False Statement or Representation Made to a Department or

Agency of the United States in the above listed action.

       2.      On August 12, 2022, Ms. Sias’s prior counsel filed a Motion for a New Trial.

       3.      On August 25, 2022, Mr. Sias filed a Pro Se Motion for New Counsel.
       4.      On August 30, 2022, the Court held an Ex Parte Hearing on Mr. Sias’s request for new

counsel.

       5.      On August 31, 2022, the Court ruled that Mr. Sias’s retained counsel would be

permitted to withdraw, and assigned the undersigned to represent Mr. Sias in this matter. The Court

also extended the deadline for filing a motion for new trial through and including October 14, 2022.

       6.      On October 11, 2022, the undersigned received a large file from Mr. Sias’s prior

counsel. A preliminary review of the file reveals that some of the relevant documents appear to be

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incomplete. Additionally, the undersigned may need to request more documents from Mr. Sias’s prior

counsel.

       7.         Review of the complete file from Mr. Sias’s prior counsel and the transcripts of the

pretrial conference, jury trial, and ex-parte hearing are necessary for the undersigned to amend Mr.

Sias’s Motion for a New Trial.

       8.      The undersigned received the information necessary to request authorization for the

preparation of the above listed transcripts late in the afternoon of October 11, 2022.

       9.      The undersigned initiated transcript requests on October 13, 2022.           Therefore, the

transcripts have not yet been prepared.

       10.     This request for an extension is made in the interest of Mr. Sias and not for the purpose

of undue delay.

       WHEREFORE, based upon the foregoing, counsel for the Defense respectfully moves this

Court to enter an Order to extend the time to amend his Motion for a New Trial from October 14, 2022

until a time no earlier than thirty days after the receipt of the complete file from Mr. Sias’s prior

counsel and the transcripts of the pretrial conference, jury trial, and ex-parte hearing.


       Respectfully submitted, this 14th day of October 2022.


                                               s/s Jesse W. Owen___________
                                               Jesse W. Owen
                                               Georgia Bar No.: 556225
                                               Attorney for Defendant
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                                     CERTIFICATE OF SERVICE


       I hereby certify that I have this day serve the DEFENDANT SIAS’S MOTION TO

EXTEND THE TIME TO AMEND HIS MOTION FOR A NEW TRIAL on all the parties in

this case in accordance with the notice of electronic filing (“NEF”) which was generated as a

result of electronic filing in this Court.


       This 14th day of October 2022.

                                             s/s Jesse W. Owen___________
                                             Jesse W. Owen
                                             Georgia Bar No.: 556225
                                             Attorney for Defendant
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